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     FF&E Refinishing, LLC and Robert Mario Insenga
 8
                                UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
     BOARD OF TRUSTEES OF THE PAINTERS                CASE NO.: 2:19-CV-02056-JCM-BNW
11   AND FLOORCOVERERS JOINT
     COMMITTEE; BOARD OF TRUSTEES OF
12   THE EMPLOYEE PAINTERS’ TRUST;                    STIPULATION AND ORDER FOR
     BOARD OF TRUSTEES OF THE PAINTERS,               DISMISSAL OF THE COMPLAINT
13   GLAZIERS AND FLOORCOVERERS JOINT                 WITH PREJUDICE
     APPRENTICESHIP AND JOURNEYMAN
14   TRAINING TRUST; BOARD OF TRUSTEES
     OF THE PAINTERS, GLAZIERS AND
15   FLOORCOVERERS SAFETY TRAINING
     TRUST FUND; BOARD OF TRUSTEES OF
16   THE SOUTHERN NEVADA PAINTERS AND
     DECORATORS AND GLAZIERS LABOR-
17   MANAGEMENT COOPERATION
     COMMITTEE TRUST; BOARD OF
18   TRUSTEES OF THE SOUTHERN NEVADA
     GLAZIERS AND FABRICATORS PENSION
19   TRUST FUND; PDCA/FCA INDUSTRY
     PROMOTION FUND; PAINTERS
20   ORGANIZING FUND; BOARD OF
     TRUSTEES OF THE SOUTHERN NEVADA
21   PAINTERS AND GLAZIERS MARKET
     RECOVERY TRUST FUND; BOARD OF
22   TRUSTEES OF THE INTERNATIONAL
     PAINTERS AND ALLIED TRADES
23   INDUSTRY PENSION FUND; BOARD OF
     TRUSTEES OF THE FINISHING TRADES
24   INSTITUTE; PAINTERS AND ALLIED
     TRADES LABOR-MANAGEMENT
25   COOPERATION INITIATIVE; and
     INTERNATIONAL UNION OF PAINTERS
26   AND ALLIED TRADES DISTRICT COUNCIL
     16,
27
                         Plaintiffs,
28   v.
                                                  1
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 1   FF&E REFINISHING NV, LLC, a Nevada
     limited-liability company; FF&E
 2   REFINISHING, LLC, a Georgia limited-
     liability company; ROBERT MARIO
 3   INSENGA, an individual; ARIA RESORT &
     CASINO HOLDINGS, LLC, a Nevada limited-
 4   liability company; ARIA RESORT & CASINO,
     LLC, a Nevada limited-liability company;
 5   MARKEL SURETY HOLDING
     CORPORATION, a Delaware corporation a/k/a
 6   MARKEL SURETY d/b/a SURETEC
     INSURANCE COMPANY d/b/a SURETEC
 7   INDEMNITY COMPANY; JOHN DOES I-XX,
     inclusive; and ROE ENTITIES I-XX, inclusive,
 8
                         Defendants.
 9

10

11         IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs BOARD OF
12   TRUSTEES OF THE PAINTERS AND FLOORCOVERERS JOINT COMMITTEE; BOARD OF
13   TRUSTEES OF THE EMPLOYEE PAINTERS’ TRUST; BOARD OF TRUSTEES OF THE
14   PAINTERS,    GLAZIERS      AND    FLOORCOVERERS        JOINT   APPRENTICESHIP       AND
15   JOURNEYMAN TRAINING TRUST; BOARD OF TRUSTEES OF THE PAINTERS, GLAZIERS
16   AND FLOORCOVERERS SAFETY TRAINING TRUST FUND; BOARD OF TRUSTEES OF
17   THE SOUTHERN NEVADA PAINTERS AND DECORATORS AND GLAZIERS LABOR-
18   MANAGEMENT COOPERATION COMMITTEE TRUST; BOARD OF TRUSTEES OF THE
19   SOUTHERN NEVADA GLAZIERS AND FABRICATORS PENSION TRUST FUND;
20   PDCA/FCA INDUSTRY PROMOTION FUND; PAINTERS ORGANIZING FUND; BOARD OF
21   TRUSTEES OF THE SOUTHERN NEVADA PAINTERS AND GLAZIERS MARKET
22   RECOVERY TRUST FUND; BOARD OF TRUSTEES OF THE INTERNATIONAL PAINTERS
23   AND ALLIED TRADES INDUSTRY PENSION FUND; BOARD OF TRUSTEES OF THE
24   FINISHING    TRADES      INSTITUTE;     PAINTERS   AND     ALLIED    TRADES     LABOR-
25   MANAGEMENT COOPERATION INITIATIVE; and INTERNATIONAL UNION OF PAINTERS
26   AND ALLIED TRADES DISTRICT COUNCIL 16, (collectively, “Plaintiffs”), by and through their
27   attorneys of record, Christensen, James & Martin, Chtd., Defendants FF&E REFINISHING NV,
28   LLC, FF&E REFINISHING, LLC and ROBERT MARIO INSENGA, by and through their attorneys
                                                    2
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 1   of record, Litchfield Cavo LLP, Defendants ARIA RESORT & CASINO HOLDINGS, LLC and

 2   ARIA RESORT & CASINO, LLC, by and through their attorney of record, Kelly R. Kichline, Esq.

 3   of MGM Resorts International, and Defendant MARKEL SURETY HOLDING CORPORATION

 4   aka MARKEL SURETY dba SURETEC INSURANCE COMPANY and SURETEC INDEMNITY

 5   COMPANY (collectively, “Defendants”), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that the First

 6   Amended Complaint filed by Plaintiffs in this case and each and every cause of action therein, shall

 7   be dismissed with prejudice, with each party to bear its own attorney’s fees and costs.

 8   Dated: October 7, 2020                      LITCHFIELD CAVO LLP
 9                                               By:     /s/ Griffith H. Hayes, Esq.
                                                       GRIFFITH H. HAYES, ESQ.
10                                                     Nevada Bar No. 7374
                                                       RYAN B. ZIMMER, ESQ.
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14                                                     Attorneys for Defendants, FF&E Refinishing NV,
                                                       LLC,FF&E Refinishing, LLC and Robert Mario
15                                                     Insenga
16   Dated: October 30, 2020                     CHRISTENSEN JAMES & MARTIN, CHTD.
17                                               By:     /s/ Kevin B. Archibald, Esq.
                                                       KEVIN B. ARCHIBALD, ESQ.
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20                                                     E: kba@cjmlv.com
                                                       Attorneys for Plaintiffs, Board of Trustees of the
21                                                     Painters & Floorcoverers Joint Committee, et al.
22   Dated: October 5, 2020                      MGM RESORTS INTERNATIONAL
23                                               By: __/s/ Kelly R. Kichline, Esq.
                                                       KELLY R. KICHLINE, ESQ.
24                                                     Nevada Bar No. 10642
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26                                                     E: kkichline@mgmresorts.com
                                                       Attorneys for Defendant Aria Resort & Casino
27                                                     LLC
28   ///
                                                       3
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 1   Dated: October 9, 2020                      LAW OFFICES OF DAVID R. JOHNSON, PLLC
 2                                               By: /s/ David R. Johnson, Esq.
                                                        David R. Johnson, Esq.
 3                                                      Nevada Bar No. 6696
                                                        Law Offices of David R. Johnson, PLLC
 4                                                      8712 Spanish Ridge Ave.
                                                        Las Vegas, NV 89148
 5                                                      T: 702-997-5974
                                                        E: david@drjohnsonpllc-law.com
 6                                                      Attorneys for Markel Surety Holding
                                                        Corporation aka Markel Surety dba Suretec
 7                                                      Insurance Company and Suretec Indemnity
                                                        Company
 8

 9                                                 ORDER
10          Based upon the Stipulation of the parties, the Court having reviewed all pleadings and papers
11   on file herein and good cause appearing:
12          IT IS HEREBY ORDERED that that the First Amended Complaint filed by Plaintiffs, and
13   each and every cause of action therein, shall be dismissed with prejudice. Plaintiffs and Defendants
14   will each bear their own fees and costs.
15          IT IS SO ORDERED.
16
17                November
            DATED this ___ day6,
                              of 2020.                    , 2020.
18

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20                                               UNITED STATES DISTRICT COURT JUDGE

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